             Case 1:11-cr-00455-ODE-JSA Document 203 Filed 09/24/13 Page 1 of 4
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                            IN THE UNITED STATES DISTRICT C~e~aklittriitlilrtQ~<.I­
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

             JAMAIL CHRISTOPHER BISCAINO, :                  CIVIL ACTION NO.
             BOP Reg # 63184-019,                            1: 13-CV-1 057-0DE-JSA
                  Movant,
                                                             CRIMINAL ACTION NO.
                   v.                                        1:11-CR-455-3-0DE-JSA

             UNITED STATES OF AMERICA,                       MOTION TO VACATE
                 Respondent.                                 28 U.S.C. § 2255

                                                    ORDER

                   Now before the Court are the Magistrate Judge's Final Report and

             Recommendation ("Report") (Doc. 200), recommending the denial of Movant's

             28 U.S.C. § 2255 motion to vacate his sentence (Doc. 191); and Movant's objections

             to the Report (Doc. 202). Under 28 U.S.C. § 636(b)(l) and Federal Rule of Civil

             Procedure 72, the Court has conducted a de novo review of those portions of the

             Report to which Petitioner objects, and has reviewed the remainder ofthe Report for

             plain error. See United States v. Slay, 714 F .2d 1093, 1095 (lIth Cir. 1983); see also

             United States v. Smith, 322 F. App'x 876, 878 n.2 (11 th Cir. 2009).

                   Movant argues in his § 2255 motion that his trial counsel provided ineffective

             assistance by recommending that he accept a replacement plea agreement rather than

             keep his original agreement. (Doc. 191). Movant states that the original agreement




A072A
(Rev.8/82)
             Case 1:11-cr-00455-ODE-JSA Document 203 Filed 09/24/13 Page 2 of 4




             required only that he plead guilty to count one of his indictment in exchange for the

             dismissal of count two (id.), which count, upon conviction, would have required a

             consecutive seven-year term of imprisonment for using a firearm during the bank

             robbery charged in count one (Doc. 200 at 1-2). Movant claims that the replacement

             agreement, although never memorialized, contained the additional requirement that

             he testifY against one of his accomplices, in exchange for which he would receive a

             further reduction in his sentence. After he testified, however, he received exactly the

             same sentence that he would have received under his original agreement. (Doc.

             191). The Magistrate Judge rejected this argument because Movant stated under

             oath on more than one occasion, including when he testified at the trial of his

             accomplice, that he had been promised nothing other than the dismissal ofcount two.

             (See Doc. 200 at 17-19).

                   Movant objects that the Magistrate Judge erred by not ordering an evidentiary

             hearing to settle the following issue: "[B]y what sound reasoning did counsel advise

             movant to reject the initial plea and pursue the latter plea that carried a far greater

             burden, a burden ofbeing labeled a snitch in prison that numerous courts - including

             the Eleventh Circuit have recognized has the potential for great harm?" (Doc. 202

             at 1-2). Movant asserts that he did not argue in his § 2255 motion that there was a

                                                       2


AO 72A
(Rev.8/82)
             Case 1:11-cr-00455-ODE-JSA Document 203 Filed 09/24/13 Page 3 of 4




             "secret" plea agreement, as the Magistrate Judge surmised, but rather that his counsel

             advised him to accept the replacement agreement by misrepresenting to him that he

             would receive a further sentence reduction in exchange for his trial testimony. (Id.

             at 2). Movant argues that his counsel apparently offered the promise of a sentence

             reduction "ofher own volition," which demonstrates her deficient performance. (Id.

             at 3). Movant argues further that he has shown prejudice arising from that deficient

             performance because his acceptance of the replacement plea agreement "increased

             [his] potential ofbeing placed in great harm in the prison environment and the streets

             later without any benefits for following counsel's advice compelled by erroneous

             inducement." (Id. at 3-4). "Thus, did [he] forego a more favorable plea deal due to

             his counsel's false inducement." (Id. at 4).

                   For the reasons laid out by the Magistrate Judge in his thorough and well-

             reasoned Report, this Court rejects Movant's arguments, which are in substance

             identical to those he made in his § 2255 motion and equally unavailing. Movant's

             solemn declaration, oft repeated under oath, that he was promised no further benefit

             for his trial testimony, other than the benefit set forth in his plea agreement, i.e., the

             dismissal ofcount two against him, belies his contention that he was in fact promised

             something more.

                                                         3


A072A
(Rev.8/82)
             Case 1:11-cr-00455-ODE-JSA Document 203 Filed 09/24/13 Page 4 of 4




                   Accordingly, the Court finds no error, plain or otherwise, in the Magistrate

             Judge's Report. The Court OVERRULES Petitioner's objections to the Report

             (Doc. 202); ADOPTS the Magistrate Judge's Final Report and Recommendation

             (Doc. 200) as its Order; DENIES Movant's 28 U.S.C. § 2255 motion to vacate his

             sentence (Doc. 191); and DENIES Movant a certificate of appealability.

                   IT IS SO ORDERED this      a day of September, 2013.

                                            ORlNDA D. EVANS
                                            UNITED STATES DISTRlCT JUDGE




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A072A
(Rev.8/82)
